                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TENNESSEE
                              AT GREENEVILLE


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )     No. 2:10-CR-110
                                             )
OLIVER LOPEZ                                 )


                                     ORDER

             The government’s motion to dismiss as to defendant Oliver Lopez [doc.

1154] is GRANTED for the reasons provided therein. Pursuant to Federal Rule of

Criminal Procedure 48(a), the indictment in this case is DISMISSED without prejudice

as to defendant Oliver Lopez only.



            IT IS SO ORDERED.

                                                  ENTER:



                                                          s/ Leon Jordan
                                                    United States District Judge




Case 2:10-cr-00110-RLJ     Document 1155 Filed 01/21/15     Page 1 of 1    PageID #:
                                       5430
